   Case 1:08-cr-00340-OWW Document 38 Filed 12/15/09 Page 1 of 2


                          COURTROOM DECORUM

       The purpose of these guidelines is to state, for the
guidance of counsel, certain basic principles concerning
courtroom decorum.   The requirements stated are minimal, not all-
inclusive, and are intended to supplement, not supplant or limit,
the ethical obligations of counsel under the Code of Professional
Responsibility or the time honored customs of experienced trial
counsel.
       When appearing in this Court, all counsel (including
where the context applies, all persons at counsel table) shall
abide by the following:
       1.   Stand at the lectern while examining any witness;
except that counsel may approach the Clerk's desk or the witness
for the purposes of handling or tendering exhibits.
       2.   Stand at or in the vicinity of the lectern while
making opening statements or closing arguments, except to refer
to exhibits.
       3.   Address all remarks to the Court, not to
opposing counsel.
       4.   Avoid disparaging personal remarks or acrimony toward
opposing counsel and remain detached from any ill-feeling between
the litigants or witnesses.
       5.   Do not address jurors by name nor approach the jury
box.
       6.   Refer to all persons, including witnesses, other
counsel and the parties by their surnames and not by their first
or given names.
       7.   Only one attorney for each party shall examine, or
cross-examine each witness.     The attorney stating objections,
during direct examination, shall be the attorney recognized for
cross-examination.

                                   1
   Case 1:08-cr-00340-OWW Document 38 Filed 12/15/09 Page 2 of 2


       8.    Only one attorney for each party shall present oral
argument on motions, opening statements, or closing arguments,
although separate motions, the opening statement, or closing
argument may be divided among counsel if a party has more than
one trial counsel.
       9.    Counsel should request permission before approaching
the bench or a witness.    Any documents counsel wish to have the
Court examine should be handed to the Clerk.
       10.   Any paper exhibit not previously marked for identi-
fication should first be handed to the Clerk to be marked before
it is tendered to a witness for examination; and any exhibit
offered in evidence should, at the time of such offer, be handed
to opposing counsel.
       11.   Exhibits should be moved into evidence after the
foundation is laid.    Do not wait until the close of your case to
move the admission of exhibits.
       12.   No speaking objections.      In making objections,
counsel should state only the legal grounds for the objection and
should withhold all further comment or argument unless elabora-
tion is requested by the Court.
       13.   In examining a witness, counsel shall not repeat,
comment on, or echo the answer given by the witness.
       14.   Offers of, or requests for, a stipulation should be
made to opposing counsel, not within the hearing of the jury.
       15.   In opening statements and in arguments to the jury,
counsel shall not express personal knowledge or personal opinion
concerning any matter in issue.
       16.   Counsel shall admonish all persons at counsel table
and parties present in the courtroom that gestures, facial
expressions, laughing, snickering, audible comments, or other
manifestations of approval, disapproval or disrespect during the
testimony of witnesses are prohibited.

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